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                     IN THE UNITED STATES DISTRICT COURT FOR THE
                            NORTHERN DISTRICT OF ILLINOIS

                                               )
                Jason Shore, et. al.           )               Case No: 16 C 4363
                                               )
                v.                             )               Judge: John W. Darrah
                                               )
                Johnson & Bell, Ltd.           )
                                               )


                                               ORDER

For the reasons stated in the attached memorandum opinion and order, Defendant’s Motion to
Direct Plaintiff to Proceed to Arbitration on an Individual Basis and Enjoin Class Arbitration
[39] is granted. Plaintiffs shall proceed to arbitration individually and there is no basis for class
arbitration. As Plaintiffs have voluntarily dismissed their case, Defendant's Motion to Dismiss
[33] is denied as moot. The civil case is closed. Enter Memorandum Opinion and Order.


Date: 2/22/17                                                  /s/ Judge John W. Darrah
